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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )       1:24-cr-10259-DJC
                                              )
MATTHEW FARWELL                               )


                  DEFENDANT’S MOTION FOR VOLUNTARY ORDER
                      OF DETENTION WITHOUT PREJUDICE


       The defendant, Matthew Farwell, through counsel, asks that this Court enter a voluntary

order of detention without prejudice and cancel the detention hearing scheduled for September

12, 2024. As grounds for this request, the defense states that Mr. Farwell had his initial

appearance before this Court on August 28, 2024. The government moved for Mr. Farwell’s

pretrial detention at that time. A detention hearing was scheduled for September 10, 2024, and

then rescheduled to September 12, 2024. After an opportunity to consult with his counsel, Mr.

Farwell now asks the Court to enter a voluntary order of detention without prejudice, saving his

right to request a detention hearing at a later date when his counsel has had additional time to

review materials relating to this case and prepare for such a hearing. Mr. Farwell further asks that

this Court cancel the detention hearing scheduled for September 12, 2024.




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                                                     Respectfully submitted,
                                                     MATTHEW FARWELL,
                                                     By His Attorneys,

                                                     /s/ Jane Peachy
                                                     Jane Peachy
                                                     B.B.O. #661394

                                                     /s/ Sandra Gant
                                                     Sandra Gant
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                                 CERTIFICATE OF SERVICE
        I, Jane Peachy, hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
on September 7, 2024.

                                                                     /s/ Jane Peachy
                                                                     Jane Peachy




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